21-12075-dsj          Doc 153         Filed 03/10/22 Entered 03/10/22 13:37:12          Main Document
                                                   Pg 1 of 6


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                    Chapter 11

JPA NO. 111 CO., LTD. and                                 Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                          (Jointly Administered)

                            Debtors.1


JPA NO. 111 CO., LTD. and
JPA NO. 49 CO., LTD.,

                                Plaintiffs,
                                                          Adv. Pro. No. 22-01004 (DSJ)
v.

FITZWALTER CAPITAL PARTNERS
(FINANCIAL TRADING) LIMITED,

                                Defendant.


           AGENDA FOR HEARING FOR MATTERS SCHEDULED
               TO BE HEARD ON MARCH 14, 2022 AT 11:00 AM
                      (VIA ZOOM FOR GOVERNMENT)
Time and Date of Hearing: March 14, 2022 at 11:00 a.m.
                          (prevailing Eastern Time)

Location of Hearing:                     Judge David S. Jones, Courtroom 501
                                         United States Bankruptcy Court,
                                         Southern District of New York
                                         One Bowling Green
                                         New York, NY 10004

1
       The Debtors in these Chapter 11 cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
       Debtors’ corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
       Chiyoda-Ku, Tokyo 100-0013, JAPAN.
21-12075-dsj     Doc 153    Filed 03/10/22 Entered 03/10/22 13:37:12          Main Document
                                         Pg 2 of 6



Hearing Attendance             The Hearing will be conducted Via Zoom for
Instructions:                  Government. Those wishing to appear before the
                               Bankruptcy Court at the Omnibus Hearing must register
                               their appearance by utilizing the Electronic Appearance
                               portal located at the Bankruptcy Court’s website:
                               https://ecf.nysb.uscourts.gov/cgi-
                               bin/nysbAppearances.pl. Appearances must be entered
                               no later than March 11, 2022 at 4:00 p.m. (Prevailing
                               Eastern Time). In addition, Gen. Ord. M-543, along with
                               other temporary procedures implemented by the
                               Bankruptcy Court in connection with the COVID-19
                               pandemic (including electronic filing procedures for pro se
                               parties) can be found by visiting www.nysb.uscourts.gov
                               (the “Bankruptcy Court’s Website”) and clicking on the
                               “Coronavirus COVID-19 Protocol” banner.

Copies of Motions:              Copies of each of the related pleadings can be viewed
                                and/or obtained by: (i) accessing the Bankruptcy Court’s
                                Website for a fee, or (ii) contacting the Office of the Clerk
                                of the United States Bankruptcy Court, Southern District
                                of New York. Please note that a PACER password is
                                required to access documents on the Bankruptcy Court’s
                                Website.

I.    STATUS CONFERENCE (Adv. Pro. No. 22-01004)

      1.       Notice of Status Conference Scheduled for March 14, 2022 at 11:00 A.M.
               [Docket No. 138].

               Related Documents:

               (a)    Complaint for Declaratory and Injunctive Relief, Recovery of Damages,
                      and Related Relief [Docket No. 1].

               (b)    Debtors’ Motion for Injunctive Relief and Sanctions [Docket No. 3].

               (c)    Opening Brief in Support of Debtors’ Motion for Injunctive Relief and
                      Sanctions [Docket No. 4].

               (d)    Declaration of Heinrich Loechteken in Support of Debtors’ Motion for
                      Injunctive Relief and Sanctions [Docket No. 5].

               (e)    Notice of (I) Adjournment of Hearing Sine Die on Debtors’ Motion for
                      Injunctive Relief and Sanctions; and (II) Scheduling of Status Conference
                      for March 14, 2022 at 11:00 A.M. [Docket No. 9].

      Status: This matter is going forward solely as a status conference as it relates to
      the above-referenced adversary proceeding.

                                               2
21-12075-dsj     Doc 153     Filed 03/10/22 Entered 03/10/22 13:37:12            Main Document
                                          Pg 3 of 6



II.   CONTESTED MATTERS

      A.       Debtors’ Sale Motion

      1.        Debtors' Application for Entry of Orders: (I)(A) Approving Bidding Procedures
                Relating to the Sale of Substantially All of the Debtors' Assets; (B) Establishing
                Stalking Horse Bidders and Bid Protections; (C) Approving Procedures of the
                Assumption and Assignment of Certain Executory Contracts and Unexpired
                Leases; (D) Authorizing Enforcement Actions; (E) Scheduling an Auction and a
                Sale Hearing; and (F) Approving the Form and Manner of Notice thereof; and
                (II)(A) Approving the Sale of the Purchased Assets Free and Clear of All Liens,
                Claims, Interests, and Encumbrances; and (B) Granting Related Relief [Docket
                No. 21].

               Objection Deadline (Initial): 4:00 p.m. (ET) on February 17, 2022, for
                                             Objections to Sales Based upon the Terms of
                                             the Stalking Horse Purchase Agreement (as
                                             modified by Debtors' Statement Responding
                                             to this Court's Inquiries Regarding the
                                             Debtors' Motion to Approve Bidding
                                             Procedures, dated January, 28, 2022 [Docket
                                             No. 90] (the “Debtors’ Statement”)) and the
                                             General Sale Terms.
               Replies/Responses:

               (a)   FitzWalter Capital (Trading Partner) Limited’s Response to the Debtors’
                     Statement Responding to This Court’s Inquiries [Docket No. 91].

               (b)   Objection and Reservation of Rights of JLPS Leasing Uranus Limited and
                     JLPS Leasing Draco Limited to Proposed Sale of Purchased Asset [Docket
                     No. 118].

               (c)   Declaration of Sidney P. Levinson in Support of Objection and Reservation
                     of Rights of JLPS Leasing Uranus Limited and JLPS Leasing Draco Limited
                     to Proposed Sale of Purchased Assets [Docket No. 119].

               (d) FitzWalter Capital Partners (Financial Trading) Limited’s Preliminary
                   Objection to Sale Objection to Motion to Proposed Sale [Docket No. 120].

               (e)   Declaration of Zachary Russell in Support of FitzWalter Capital Partners
                     (Financial Trading) Limited’s Sale Objection [Docket No. 121]

               (f)   Notice of Corrected Filing Regarding Exhibit Eight to the Declaration of
                     Zachary Russell In Support of FitzWalter Capital Partners (Financial
                     Trading) Limited’s Sale Objection [Docket No. 126].

               (g)   Debtors’ Omnibus Reply to the Objections of FitzWalter Capital Partners
                     (Financial Trading) Limited and the Intermediate Lessors Regarding the
                     Proposed Sale [Docket No. 130].

                                                3
21-12075-dsj     Doc 153     Filed 03/10/22 Entered 03/10/22 13:37:12           Main Document
                                          Pg 4 of 6



               (h)   Declaration of Jared C. Borriello in Support of Debtors’ Omnibus Reply to
                     the Objections of FitzWalter Capital Partners (Financial Trading) Limited
                     and the Intermediate Lessors Regarding the Proposed Sale [Docket
                     No. 131].

               (i)   JP Lease Products & Services Co. Ltd’s Statement in Support of the
                     Debtors’ Application for Entry of Orders: (I)(A) Approving Bidding
                     Procedures Relating to the Sale of Substantially All of the Debtors’ Assets;
                     (B) Establishing Stalking Horse Bidders and Bid Protections;
                     (C) Approving Procedures for the Assumption and Assignment of Certain
                     Executory Contracts and Unexpired Leases; (D) Authorizing Enforcement
                     Actions; (E) Scheduling an Auction and a Sale Hearing; and (F) Approving
                     the Form and Manner of Notice Thereof; and (II)(A) Approving the Sale of
                     the Purchased Assets Free and Clear of All Liens, Claims, Interests, and
                     Encumbrances; and (B) Granting Related Relief and in support of the
                     Debtors’ Omnibus Reply to the Objections of FitzWalter Capital Partners
                     (Financial Trading) Limited and the Intermediate Lessors Regarding the
                     Proposed Sale [Docket No. 132].

               (j)   Objection and Reservation of Rights of JLPS Leasing Uranus Limited and
                     JLPS Leasing Draco Limited to Proposed Assumption and Assignment of
                     Certain Executory Contracts in Connection with Proposed Sale [Docket
                     No. 139].

               (k)   Supplemental Declaration of Sidney P. Levinson in Support of Objection
                     and Reservation of Rights of JLPS Leasing Uranus Limited and JLPS
                     Leasing Draco Limited to Proposed Assumption and Assignment of Certain
                     Executory Contracts in Connection with Proposed Sale [Docket No. 140].

               (l)   FitzWalter Capital Partners (Financial Trading) Limited’s Joinder to
                     Objection and Reservation of Rights of JLPS Leasing Uranus Limited and
                     JLPS Leasing Draco Limited to Proposed Assumption and Assignment of
                     Certain Executory Contracts in Connection with Proposed Sale [Docket
                     No. 141].

               (m) FitzWalter Capital Partners (Financial Trading) Limited’s Preliminary
                   Objection to Debtors’ 506/502 Motion and Response to Debtors’ Reply in
                   Support of Sale Motion and JPL’s Statement in Support of Sale Motion
                   [Docket No. 152].

               Related Documents:

               (a)   Declaration of Heinrich Loechteken in Support of Debtors’ Application for
                     Entry of Orders: (I)(A) Approving Bidding Procedures Relating to the Sale
                     of Substantially All of the Debtors’ Assets et al., [Docket No. 44].

               (b)   Declaration of Francis Tregear QC in Support of Debtors’ Reply to the
                     Objection of Fitzwalter in Further Support of Their Application for Entry of
                     Orders, Inter Alia, Approving Bidding Procedures Relating to the Sale of
                     Substantially All of the Debtors’ Assets [Dkt. No. 68-1].
                                                 4
21-12075-dsj     Doc 153     Filed 03/10/22 Entered 03/10/22 13:37:12           Main Document
                                          Pg 5 of 6




               (c)   Declaration of Akhil Shah in Support of Creditor FitzWalter Capital
                     Partners (Financial Trading) Limited’s Motion to Dismiss or Abstain From
                     Hearing These Chapter 11 Cases and Preliminary Objection of FitzWalter
                     Capital Partners (Financial Trading) Limited to Debtors’ Application for
                     Entry of Orders (I)(A) Approving Bidding Procedures Relating to the Sale
                     of Substantially All of the Debtor’s Assets; (B) Establishing Stalking Horse
                     Bidders and Bid Protections; (C) Approving Procedures for the Assumption
                     and Assignment of Certain Executory Contracts and Unexpired Leases; (D)
                     Authorizing Enforcement Actions; et al., [Docket No. 79].

               (d)   Statement Responding to This Court’s Inquiries Regarding Debtors’
                     Motion to Approve Bidding Procedures [Docket No. 90].

               (e)   Corrected Order Signed on 2/7/2022 (A) Approving Bidding Procedures
                     relating to the Sale of Substantially All of the Debtors’ Assets; (B)
                     Establishing Stalking Horse Bidders and Approving Bid Protections;
                     (C) Approving Procedures of the Assumption and Assignment of Certain
                     Executory Contracts and Unexpired Leases; (D) Authorizing Enforcement
                     Actions; (E) Scheduling an Auction and a Sale Hearing; and (F) Approving
                     the Form and Manner of Notice Thereof. [Docket No. 102].

               (f)   Notice of Proposed Assumption and Assignment of Certain Executory
                     Contracts in Connection with Proposed Sale [Docket No. 104].

               (g)   Notice of Proposed Sale of Purchased Assets [Docket No. 116].

               (h)   Notice of Cancellation of Auction and Designation of Stalking Horse Bidder
                     As Successful Bidder Pursuant to Revised Stalking Horse Bid [Docket
                     No. 149].

               Objection Deadline (Final): 12:00 p.m. (ET) on March 10, 2022, for
                                           Objections to Successful Bid (Objections
                                           Limited to Identity of Successful Bidder and
                                           to any Deviations from the Terms of the
                                           Stalking Horse Purchase Agreement (as
                                           modified by Debtors' Statement).

               Responses/Replies: None at this time.

               Related Documents: None at this time.

      Status: This matter is going forward on a contested basis.




                                                5
21-12075-dsj    Doc 153      Filed 03/10/22 Entered 03/10/22 13:37:12            Main Document
                                          Pg 6 of 6



      B.       Debtor’s Estimation Motion

      1.       Notice of Hearing and Motion of the Debtors for Entry of an Order
               (I) Determining Secured Claims of Prepetition Credit Facilities or (II) In the
               Alternative, Estimating Amount of Claims Asserted by FitzWalter Capital
               Partners (Financial Trading) Limited and its Affiliates [Docket No. 136].

               Objection Deadline: March 10, 2022 at 12:00 P.M. (ET)

               Responses/Replies:

               (a) FitzWalter Capital Partners (Financial Trading) Limited’s Preliminary
                   Objection to Debtors’ 506/502 Motion and Response to Debtors’ Reply in
                   Support of Sale Motion and JPL’s Statement in Support of Sale Motion
                   [Docket No. 152].

               Related Documents:

               (b) Declaration of Jared C. Borriello in Support of Motion of the Debtors for
                   Entry of an Order (I) Determining Secured Claims of Prepetition Credit
                   Facilities or (II) in the Alternative, Estimating Amount of Claims Asserted by
                   FitzWalter Capital Partners (Financial Trading) Limited and its Affiliates
                   [Docket No. 137].

       Status: This matter is going forward on a contested basis as part of the hearing
               on the Sale.

Dated: New York, New York
       March 10, 2022                        JPA NO. 111 CO., LTD. and
                                             JPA No. 49 CO., LTD.
                                             Debtors and Debtors in Possession
                                             By their Counsel
                                             TOGUT, SEGAL & SEGAL LLP
                                             By:

                                             /s/Kyle J. Ortiz
                                             KYLE J. ORTIZ
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                                                6
